Case 1:21-mj-00017-GMH Document 3 Filed 01/08/21 Page 1 of 1
~~ wa

AO 442 (Rev. II/I1) Arrest Warrant F 2 p: lf 92-1645
UNITED STATES DISTRICT COURT

 

for the
u,S. HARSHAL -DG PHI?
PECEIVCD JAN B?d District of Columbia
United States of America
V. ) Case: 1:21-mj-00017
CLEVELAND GROVER MEREDITH, JR. ) Assigned to: Judge Harvey, G. Michael

) Assign Date: 1/8/2021

Description: COMPLAINT W/ARREST WARRANT
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested} | CLEVELAND GROVER MEREDITH, JR. ’
who is accused of an offense or violation based on the following document filed with the court:

 

1 Indictment © Superseding Indictment Ol Information © Superseding Information ow Complaint
Q Probation Violation Petition © Supervised Release Violation Petition QO Violation Notice ( Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 875(c)- Transmitting a Threat in Interstate Commerce
7 D.C. Code § 2502.01(a)- Possession of an Unregistered Firearm
7 D.C. Code § 2506 01(a)- Unlawful Possession of Ammunition

G. Michael Harvey

2021.01.08
12:56:31 -05'00'

 

 

 

 

 

 

 

Date: 01/08/2021
Issuing officer's signature
City and state: | Washington, DC . G. MICHAEL HARVEY, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) [/@/ 20 , and the person was arrested on (date) 202
at (city and state) Washinglon pa eles vt

 

~~
Date: (/3/2721

Aveesting-officer's signature

Keceiviag

Christopher Jchwes, le} Pussy

Printed name and title

 

 

 

 
